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                      UNITED STATES DISTRICT COURT                                      2o2B
                      NORTHERN DISTRICT OF ILLINOIS
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                                       )      Violation: Title 18,
      V.                               )      United States Code,
                                       )      Section 922(9)(1)
TILROME P. BELL
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      The SPECIAL OCTOFEP" 2022 GRAND JURY charges:

      On or about January L, 2023, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                TILROME P. BELL,

defendant herein, knowing that he had been previously convicted of a crime

punishable by a term of imprisonment exceeding one yeat, did knowingly possess, in

and affecting interstate commerce, a firearm, namely, a Glock .22 cahber semi-

automatic pistol, model 44,bearing serial number AEDT249, which firearm had been

transported in interstate commerce prior to defendant's possession of the firearm;

      In violation of Title 18, United States Code, Section g22(e)G).


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                           FORFEITURE ALLEGATION

      The SPECIAL OCTOBEP" 2022 GRAND JURY alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 922(g)(L), as set forth in this indictment, defendant TILROME P. BELL shall

forfeit to the United States of America the firearm, magazines, and ammunition

involved in and used in the offense, as provided in Title 18, United States Code,

Section 924(d)(1) and Title 28, United States Code, Section 2461(c).

      2.     The property to be forfeited consists of a Glock .22 caltber semi-

automatic pistol, model 44, bearing serial number AEDT249, and associated

magazines and ammunition.



                                                     A TRUE BILL:



                                                     FOREPERSON


Signed by Jason Yonan on behalf of the
ACTING UNITED STATES ATTORNEY




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